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IN THE UNITED S'I`ATES DISTRICT COURT
F()R THE DISTRICT OF MARYLAND

WILLIAM H. PYLES *
‘ =1=
=l=
v. * Civil No. _ JFM-15-2046
. *
VETERAN ADMINISTRATION *
******
MEMORANDUM

Plaintiff has filed this action claiming that his compensation and pension benefits Would
be Withheld beginning in September 2015 by the Veteran Administration because plaintiff had
been overpaid by $113,528.87. The defendant has filed a motion to dismiss. The motion will be
granted.

This court lacks Subject matter jurisdiction over claims relating to veterans’ benefits See
33 U.S.C. §511(21).

A Separate order granting defendant’s motion is being entered herewith

Date: §/5 a//J %.;Q/\/\/.
}/Frederick Moti
United States District Judge

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